Case 2:03-cV-02330-SHI\/|-ch Document 382 Filed 05/09/05 Page 1 of 5 Page|D 672

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LECTROLARM CUSTOM SYSTEMS, INC.
Plaintiff,
Civil Action No. 031-2330 Ma A

V.

VlCON INDUSTRIES, INC., et al.

Defendants.

 

 

[P~RQPQ'S-EB| ORDER GRANTING DEFENDANT GE INTERLOGIX, lNC.’S MOTION
FOR LEAVE TO FILE A STATEMENT IN RESPONSE TO THE COURT’S
DISMISSAL OF ITS MOTION FOR A SECOND ORDER TO COMPEL RULE 30(b)(6)
DEPOSITION TESTIMONY OF PLAINTIFF LECTROLARM
CUSTOM SYSTEMS, INC.

 

Bei"ol‘e the Court is Defendant GE lnterlogix, [nc.’s motion for leave to file a Statement in
response to the Court’s dismissal of its Motion for a Second Order to Compel Rule 30(b)(6)
Deposition Testimony of Plaintiff Leetrolarm Custom Systenis, Inc. For good cause shown, the
motion is GRANTED.

IT IS SO ORDERED.

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Honorable Samuel Mays
US DISTRICT COURT

